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                                                                                              2018 May-10 AM 11:48
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

JEREMY CARTER,                                   )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )    Case No.: 2:18-cv-350-JEO
                                                 )
COMPANION LIFE INSURANCE                         )
COMPANY, et al.,                                 )
                                                 )
       Defendants.

                                            ORDER

       On May 7, 2018, a motion to dismiss was filed (Doc. 25). Pursuant to the General Order

For Referral of Civil Matters to the United States Magistrate Judges of the Northern District of

Alabama, dated January 2, 2015, the parties are REQUIRED to enter an election regarding the

exercise of dispositive jurisdiction by a magistrate judge pursuant to 28 U.S.C. § 636(c) no later

than June 21, 2018. In the absence of consent by all parties, the Clerk is hereby DIRECTED to

reassign the case to a randomly drawn district judge without further order after June 21, 2018.

       A telephone status conference is hereby SET for 11:00 a.m. on June 6, 2018. The

parties are DIRECTED to call 888-808-6929 to access the telephone conference. The access

code is 5917763. The parties should call in five minutes prior to the start time of the conference.

The telephone conference will be cancelled if all forms are submitted twenty-four hours in

advance.

       The parties are directed to use the magistrate judge consent form on the CM/ECF

system to elect or decline the exercise of magistrate judge jurisdiction. Unlike in the past, a

party can now complete the consent form electronically and submit it through the Court’s

CM/ECF filing system at the following web address: https://ecf.alnd.uscourts.gov. If a party
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submits the form electronically, the form will be delivered directly to the Clerk. It will not be

filed on the docket sheet, and no judge will have access to the form. Alternatively, a party may

print the form, complete it manually, and submit it to the Clerk’s office.

       You may decline magistrate judge jurisdiction without adverse consequences.              The

identity of any party who consents to or declines magistrate judge jurisdiction will remain

unknown to the undersigned unless consent is unanimous. The undersigned will only learn of a

party’s election to consent where all parties have consented. In the event fewer than all of the

parties elect to consent, the Clerk will not inform the undersigned of the identity of the non-

consenting party/parties. If all parties consent, a magistrate judge will exercise full and final

dispositive jurisdiction, and all appeals will lie directly with the appropriate United States Court

of Appeals.

       DATED this 10th day of May, 2018.



                                              _________________________________
                                              JOHN E. OTT
                                              Chief United States Magistrate Judge




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